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                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF OREGON
UNITED STATES OF AMERICA              )
                                      ) CR 05-60008-02-HO
   v.                                 )
                                      ) AL RAJHI BANKING &
PIROUZ SEDAGHATY                      ) INVESTMENT CORP.’S REPLY TO
                                      ) GOVERNMENT’S OPPOSITION TO
                      Defendant,      ) MOTION TO STAY ORDER FOR
                                      ) COMPLIANCE WITH PATRIOT
In re AL RAJHI BANK SUBPOENA          ) ACT SUBPOENA
                                      )
AL RAJHI BANKING &                    )
INVESTMENT CORP.,                     )
Real party in interest                )
                       Respondent.    )




Response to Government Opposition                                       Clients/Al Rajhi Banking & Investment
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                                              TABLE OF CONTENTS

                                                                                                                             Page

Table of Authorities ............................................................................................................ ii

I.        The Government Misconstrued the Standard for Granting a Stay and
          Failed to Rebut the Bank’s Showing of the Likelihood of Irreparable Harm ..........1

II.       The Bank Has Shown a Substantial Likelihood of Success on the Merits ..............3

          a.          The Government Has Not Shown That the Bank’s Constitutional
                      Argument is Unlikely to Succeed ................................................................3

          b.          The Government Has Not Shown that the Bank’s Argument that an
                      Administrative Subpoena May Not be Used to Gather Evidence for
                      Trial is Unlikely to Succeed.........................................................................6

          c.          The Government Has Not Responded to the Argument that the
                      Subpoena May be Quashed on Appeal Because Compliance
                      Violates Saudi Law ......................................................................................7

III.      The Government Has Not Disputed That the Balance of Hardships Tips in
          the Bank’s Favor ......................................................................................................8

IV.       A Stay Serves the Public Interest ...........................................................................10

V.         Conclusion .............................................................................................................13




Response to Government Opposition                                                  Clients/Al Rajhi Banking & Investment
to Motion to Stay – Page i                                                         Corp/ Motion (08 FEB 10)
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                                         TABLE OF AUTHORITIES

                                                                                                                             Page(s)
FEDERAL CASES

American Trucking Ass’ns v. City of Los Angeles,
  559 F.3d 1046 (9th Cir. 2009) ...............................................................................................2, 8

Doe v. Ashcroft,
   334 F. Supp. 2d 471 (S.D.N.Y. 2004)......................................................................................10

Golden Gate Restaurant Ass’n v. San Francisco,
   512 F.3d 1112 (9th Cir. 2008) ...................................................................................................3

Humane Society of the United States v. Gutierrez,
  558 F.3d 896 (9th Cir. 2009) .....................................................................................................8

In re Grand Jury Proceedings (Schofield),
    486 F.2d 85 (3d Cir. 1973).........................................................................................................7

In re Grand Jury Subpoena (Bank of Nova Scotia),
    691 F.2d 1384 (11th Cir. 1982) .............................................................................................3, 4

In re Sealed Case,
    825 F.2d 494 (D.C. Cir. 1987) ...................................................................................................7

In re Sealed Case No. 02-001,
    310 F.3d 717 (FISA Ct. Rev. 2002) .........................................................................................10

Mayfield v. United States,
  504 F. Supp. 2d 1023 (D. Or. 2007) ........................................................................................10

Resolution Trust Corporation v. Grant Thornton,
   41 F.3d 1539 (D.D.C. 1994) ......................................................................................................6

Stormans, Inc. v. Selecky,
    586 F.3d 1109 (9th Cir. 2009) ...............................................................................................2, 8

United States. v. Lazar,
   No. 04-20017, 2006 WL 3761803 (W.D. Tenn. Dec. 20, 2006) ...............................................6



Response to Government Opposition                                               Clients/Al Rajhi Banking & Investment
to Motion to Stay – Page ii                                                      Corp/ Motion (08 FEB 10)
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                                                 541-683-0888 - FAX 541-683-0889
                                                       www.beckley-law.com
United States v. Phibbs,
   999 F.2d 1053 (6th Cir. 1993) ...................................................................................................6

United States v. Union Bank for Savings & Investment (Jordan),
   487 F.3d 8 (1st Cir. 2007) ................................................................................................4, 5, 11

United States v. Verdugo-Urquidez,
   494 U.S. 259 (1990) ...................................................................................................................3

Winter v. Natural Resources Defense Council, Inc.,
   __ U.S. __, 129 S. Ct. 365 (2008) ......................................................................................1, 2, 8

FEDERAL STATUTES

18 U.S.C. § 981(k) ...........................................................................................................................4

18 U.S.C. § 984(c)(2)(B) .................................................................................................................4

31 U.S.C. § 5318(i)(2) .....................................................................................................................9

31 U.S.C. § 5318(k) .......................................................................................................................11

31 U.S.C. § 5318A .....................................................................................................................4, 10

USA PATRIOT Act, Pub. L. No. 107-56, 115 Stat. 272 (2001) ...............................................4, 10

OTHER AUTHORITIES

FinCen, Section 311 – Special Measures,
   http://www.fincen.gov/statutes_regs/patriot/section311.html (last visited Mar.
   18, 2010) ..................................................................................................................................10

Restatement (Third) of Foreign Relations Law ...............................................................................7




Response to Government Opposition                                                   Clients/Al Rajhi Banking & Investment
to Motion to Stay – Page iii                                                         Corp/ Motion (08 FEB 10)
                                         BECKLEY LAW FIRM, P.C.
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        Al Rajhi Banking & Investment Corporation (the “Bank”) respectfully submits

this Reply to the Opposition of the United States to Al Rajhi Banking & Investment

Corp.’s Motion to Stay Order (“Gov. Opp.”).

        On March 12, 2010, the government filed an unopposed motion for an expedited

appeal of this Court’s order. The motion set out a briefing schedule whereby the Bank’s

final brief will be filed by April 26, 2010, five full weeks before the scheduled

commencement of Defendant Sedaghaty’s criminal trial. The government and the Bank

conferred together regarding the schedule and the Bank confirmed that it did not oppose

the government’s motion. In light of this proposed expedited briefing schedule, the

appeal can now be decided before the commencement of the criminal trial. A stay

pending appeal, therefore, will not prejudice the government or Defendant Sedaghaty.

By contrast, a stay pending appeal will avoid the certain, severe, and irreparable harm the

Bank will suffer both if it complies with the Subpoena in violation of Saudi law and if it

does not comply and loses its U.S. correspondent accounts.

I.      The Government Misconstrued the Standard for Granting a Stay and Failed
        to Rebut the Bank’s Showing of the Likelihood of Irreparable Harm

        The government argues that Winter v. Natural Resources Defense Council, Inc.,

__ U.S. __, 129 S. Ct. 365 (2008) and subsequent Ninth Circuit cases undermine the

Bank’s argument that if it shows a greater likelihood of irreparable harm, it need not

show as robust a likelihood of success on the merits. (Gov. Opp. at 2-4.) However, the

government has misconstrued the holding of the cases it cites in support of this argument.

The focus of these cases is on whether a party must make a threshold showing that


Response to Government Opposition                                       Clients/Al Rajhi Banking & Investment
to Motion to Stay– Page 1                                               Corp/ Motion (08 FEB 10)
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irreparable harm is likely, as opposed to merely possible; and to the extent that these

cases signify a change in the threshold standard applied in the Ninth Circuit, the change is

limited to requiring a threshold showing that irreparable harm is likely. See Winter, 129

S. Ct. at 375 (“We agree with the Navy that the Ninth Circuit’s ‘possibility’ standard is

too lenient. Our frequently reiterated standard requires plaintiffs seeking preliminary

relief to demonstrate that irreparable injury is likely in the absence of an injunction.”

(first emphasis added); Am. Trucking Ass’ns v. City of Los Angeles, 559 F.3d 1046, 1052

(9th Cir. 2009) (“As the Court explained, an injunction cannot issue merely because it is

possible there will be an irreparable injury to the plaintiff; it must be likely that there will

be.”) (emphasis added); Stormans, Inc. v. Selecky, 586 F.3d 1109, 1138 (9th Cir. 2009)

(“the correct standard is not whether there is a ‘possibility’ but whether there is a

‘likelihood of irreparable injury’”) (quoting Winter, 129 S. Ct. at 375) (emphasis added).

In fact, the Supreme Court in Winter refrained from addressing the issue of plaintiffs’

likelihood of success on the merits. 129 S. Ct. at 376 (“we do not address the lower

courts’ holding that plaintiffs have also established a likelihood of success on the

merits”). Here, the government has not contested, and could not reasonably contest the

Bank’s showing that it will suffer severe and irreparable harm if a stay is not granted; and

that the Bank’s irreparable injury is not only likely, it is a certainty.

        The other cases relied on by the government in opposition are also inapposite.

Stormans states that the standard refuted by the Supreme Court was specifically the

“‘possibility of irreparable injury’ standard” when the Court stated that “the Ninth

Circuit’s ‘possibility’ standard is too lenient.” 586 F.3d at 1127 (emphasis added). The

Response to Government Opposition                                       Clients/Al Rajhi Banking & Investment
to Motion to Stay– Page 2                                               Corp/ Motion (08 FEB 10)
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government’s cases do not state, and do not stand for the proposition that Winter

overruled the Ninth Circuit’s standard that “[I]f the balance of hardships tips sharply in

favor of the party seeking the stay, a relatively low standard of likelihood of success on

the merits is sufficient.” Golden Gate Rest. Ass’n v. San Francisco, 512 F.3d 1112, 1119

(9th Cir. 2008) (internal quotations omitted).                    In fact, Winter’s emphasis on the

requirement that a party show a possibility of irreparable injury signifies that such a

showing is especially important in the context of granting a stay pending appeal.

II.     The Bank Has Shown a Substantial Likelihood of Success on the Merits

        a.      The Government Has Not Shown that the Bank’s Constitutional
                Argument is Unlikely to Succeed

        This Court observed that it was “concerned with the lack of an explicit procedure

in the statute, via judicial oversight, initiated by the agency seeking enforcement through

termination of correspondent accounts.” (Order at 7.) In an attempt to allay this concern,

the government repeats again its argument that the search here is a search of a foreign

national conducted entirely in foreign territory, and therefore raises no Fourth

Amendment concerns under United States v. Verdugo-Urquidez, 494 U.S. 259, 275

(1990). (Gov. Opp. at 4.) Unlike in Verdugo-Urquidez, however, the search here is

predicated on the Bank’s U.S. connections: (1) the subpoena power is triggered by the

existence of the Bank’s correspondent accounts in the United States; (2) the Subpoena

was issued to the Bank’s agent for service of process in the United States; (3) the

Subpoena calls for production of documents in the United States; and (4) the

government’s coercive power is exercised in the United States by threatening to close the


Response to Government Opposition                                       Clients/Al Rajhi Banking & Investment
to Motion to Stay– Page 3                                               Corp/ Motion (08 FEB 10)
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Bank’s U.S. correspondent accounts. Additionally, this search is arguably no different

from searches conducted through grand jury subpoenas that call for production of

documents held abroad by foreign companies.                          Such searches have been subject to

judicial review and a court order has been required for enforcement. See, e.g., In re

Grand Jury Subpoena (Bank of Nova Scotia), 691 F.2d 1384 (11th Cir. 1982) (providing

judicial review of the enforceability of a grand jury subpoena issued to a Canadian bank

for records held in its main branch in Canada and in the Bahamas and Antigua).1

         In its order, the Court held that the Bank may have had a stronger constitutional

argument if it had a physical branch in the United States. (Order at 9.) The Court further

stated that “foreign, remotely maintained correspondent relationships are not more

worthy of constitutional protection that a foreign corporation seeking to sell a product in

the United States banned by domestic policy.” (Id. at 9-10.) The Bank respectfully calls

the Court’s attention to United States v. Union Bank for Savings & Investment (Jordan),

487 F.3d 8 (1st Cir. 2007), where the First Circuit held that a foreign bank whose only

ties to the United States was a correspondent account held at a U.S. bank, did have a

constitutionally protected interest in challenging government action against that

correspondent account, taken pursuant to 18 U.S.C. § 981(k), another provision of the

USA PATRIOT Act, Pub. L. No. 107-56, § 319(a), 115 Stat. 272, 311-12 (2001).




1
 The court in Bank of Nova Scotia held that the fact that the records requested were outside of the United
States did not render the grand jury subpoena different from a subpoena calling for testimony before the
grand jury in the United States, because “the disclosure to the grand jury will occur in this country.” Id. at
1390. Here too, the Subpoena calls for the disclosure of documents “in this country” and thus the search is
not entirely conducted outside the United States.

Response to Government Opposition                                           Clients/Al Rajhi Banking & Investment
to Motion to Stay– Page 4                                                   Corp/ Motion (08 FEB 10)
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         In Union Bank, the United States had seized over $2.8 million in the bank’s U.S.

correspondent account, pursuant to 18 U.S.C. § 981(k), asserting that the funds

corresponded to proceeds of a Canadian fraud conspiracy.2 The bank challenged the

seizure on the basis of, inter alia, the Eighth Amendment. While rejecting the bank’s

Eighth Amendment challenge on the merits, the court, in a ruling directly contrary to this

Court’s holding, determined that the foreign bank had standing to raise a constitutional

challenge to the government’s actions. Union Bank, 487 F.3d at 12. The court noted that

the funds seized by the government “were taken from the bank account of Union Bank

(Jordan), an account over which it exercised full dominion and control” and that therefore

it could raise an Eighth Amendment challenge to excessive fines against “the bank itself.”

Id. at 22.

         The Bank’s four U.S. correspondent accounts have been actively maintained by

the Bank, in some cases for as long as a decade. They do not differ in any material way

from the correspondent account held by Union Bank for Savings & Investment (Jordan).

There is therefore a substantial likelihood that on appeal, the Ninth Circuit will follow the

First Circuit’s opinion and recognize the Bank’s constitutionally protected interest in the

correspondent accounts it owns at U.S. Banks.

2
  18 U.S.C. § 981(k) provides for forfeiture of funds in “interbank accounts.” The terms “interbank
accounts” and “correspondent accounts” are interchangeable. See Union Bank, 487 F.3d at 15 (“Interbank
accounts, also known as correspondent accounts, are used by foreign banks to offer services to their
customers in jurisdictions where the banks have no physical presence, and otherwise to facilitate
transactions involving such jurisdictions.”) (emphasis added). The definitions of these two terms are also
substantially identical. 31 U.S.C. § 5318A(e)(1)(B) defines “correspondent accounts” as “an account
established to receive deposits from, make payments on behalf of a foreign financial institution, or handle
other financial transactions related to such institution.” 18 U.S.C. § 984(c)(2)(B) as “an account held by
one financial institution at another financial institution primarily for the purpose of facilitating customer
transactions.”

Response to Government Opposition                                           Clients/Al Rajhi Banking & Investment
to Motion to Stay– Page 5                                                   Corp/ Motion (08 FEB 10)
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        The government also argues that the Bank’s constitutional argument is mooted

because it has obtained judicial review of the Subpoena’s enforceability. (Gov. Opp. at

4-5.) However, this Court addressed the Bank’s constitutional arguments on the merits

and did not hold that the question was mooted by the fact that the enforceability of the

Subpoena was being subject to judicial review. Additionally, the constitutional question

is not mooted because, as the government itself essentially conceded, this is a case that is

capable of repetition but evading review. (See Gov. Opp. at 10.)

        b.      The Government Has Not Shown that the Bank’s Argument that an
                Administrative Subpoena May Not be Used to Gather Evidence for
                Trial is Unlikely to Succeed

        To support its argument that it may use the investigatory tool of the administrative

subpoena exclusively as a trial discovery tool, the government cites the same cases it

cited in its Motion to Compel.               The government states that the Banks had not

distinguished these cases “in any meaningful way.” In fact, the Bank distinguished all

these cases in its Opposition to the government’s Motion to Compel. (See Al Rajhi

Banking & Investment Corp.’s Opposition to United States’ Motion to Compel

Compliance with Patriot Act Subpoena, at 15-17.) For example, the Bank noted that

United States v. Phibbs, 999 F.2d 1053 (6th Cir. 1993) had been cited by Resolution

Trust Corporation v. Grant Thornton to support the proposition that administrative

subpoenas may not be used in the manner proposed here. Resolution Trust Corporation

v. Grant Thornton, 41 F.3d 1539, 1547 (D.D.C. 1994). The Bank had also noted that

United States. v. Lazar, No. 04-20017, 2006 WL 3761803 (W.D. Tenn. Dec. 20, 2006)

noted that “[t]he Court is cognizant of the fact that Phibbs indicates a shift in the

Response to Government Opposition                                       Clients/Al Rajhi Banking & Investment
to Motion to Stay– Page 6                                               Corp/ Motion (08 FEB 10)
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judiciary’s construction of the executive’s criminal investigative capabilities. However,

Phibbs is the law of this Circuit, and there is no sufficiently principled basis upon which

to distinguish it from this case.” Id. at *9 (emphasis added). The Bank did not repeat

these arguments in its motion for a stay for the simple reason that these cases were not

cited by this Court in the Order.3

        c.       The Government Has Not Responded to the Argument that the
                 Subpoena May be Quashed on Appeal Because Compliance Violates
                 Saudi Law

        The government has not addressed any of the Bank’s arguments that a number of

omissions in this Court’s analysis of the balancing test under the Restatement (Third) of

Foreign Relations Law increase the Bank’s likelihood of success on the merits. Instead,

the government argues that “courts are unsurprisingly ‘hesitant’ to order actions with

potentially negative implications for the international relations of the United States is thus

of no particular significance” in a case of action by the executive branch. (Gov. Opp. at

7.) This argument completely misses the mark. The government ignores the fact that it

was a court ruling on the enforceability of a grand jury subpoena that stated that “it

causes us considerable discomfort to think that a court of law should order a violation of

law, particularly on the territory of the sovereign whose law is in question.” In re Sealed

Case, 825 F.2d 494, 498 (D.C. Cir. 1987). Grand jury subpoenas are no less a tool of the

executive branch than administrative subpoenas. See In re Grand Jury Proceedings

3
 The government argues that the statement “[a] Patriot Act subpoena is not a grand jury subpoena”
undermines the Bank’s argument that the government clearly views these tools as “equivalent.” (Gov.
Opp. at 6 n.3.) Obviously, these are two separate investigatory tools. The Bank’s point, which the
government has not addressed, is that Patriot Act subpoenas are meant to be, and are indeed used as
functional equivalents to Nova Scotia subpoenas where a foreign bank has correspondent accounts in the
United States but no physical branches.

Response to Government Opposition                                         Clients/Al Rajhi Banking & Investment
to Motion to Stay– Page 7                                                 Corp/ Motion (08 FEB 10)
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(Schofield), 486 F.2d 85, 90 (3d Cir. 1973) (citing 8 J. Moore, Federal Practice ¶ 6.02[1],

[6] (2d ed. Cipes ed. 1972) for the proposition that grand jury subpoenas are “for all

practical purposes an investigative and prosecutorial arm of the executive branch of

government”). Therefore, a court should be hesitant to order the Bank to violate the laws

of its own country and the Bank is likely to prevail on this element.

III.    The Government Has Not Disputed That the Balance of Hardships Tips in
        the Bank’s Favor

        The Bank has shown, and the government has not contested, that the Bank will

suffer severe and irreparable harm if a stay is not granted. The government, on the other

hand, faces at most a brief adjournment of the criminal trial, pending the appeal, and even

this is unlikely given the expedited appellate briefing schedule proposed by the

government and agreed to by the Bank. Rather than dispute that the Bank has shown that

the balance of hardships tips towards the Bank, the government argues that the Bank

“offers the wrong answer to the wrong question.” (Gov. Opp. at 8.) It is the government

that has answered the wrong question. The government attempts to undermine the

Bank’s argument by construing the question as a balance of the “equities” and not the

“hardships.” (Id.) The government then proceeds to argue that “the balance of the

equities must, therefore, reflect the weight of the government’s diligent and reasonable

efforts to get the records . . . relative to the Bank’s [waiting] for more than four months

before challenging [the Subpoena] in court.” (Id. at 9.)

        Even if the government’s characterization of the parties’ conduct in the case were

accurate, and it is not, the government provides no support for the proposition that the


Response to Government Opposition                                       Clients/Al Rajhi Banking & Investment
to Motion to Stay– Page 8                                               Corp/ Motion (08 FEB 10)
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parties’ respective conduct in the case is the operative factor here. The case cited for the

proposition that the test is one of balancing “equities” is a two page opinion that includes

no substantive discussion of the element whatsoever. Humane Soc’y of the United States

v. Gutierrez, 558 F.3d 896 (9th Cir. 2009). The other cases that use the term “equities”

use it as a synonym for “hardships.” See Winter, 129 S. Ct. at 378-80 (discussing the

hardship faced by the opponent to the stay when discussing the “balance of the equities”);

Am. Trucking, 559 F.3d at 1059 (discussing the “balance of the hardships” in the section

titled “Balance of Equities; The Public Interest”); Stormans, 586 F.3d at 1138 (“To

qualify for injunctive relief, the plaintiffs must establish that the balance of equities tips

in [their] favor. In assessing whether the plaintiffs have met this burden, the district court

has a duty . . . to balance the interests of all parties and weigh the damage to each.”)

(internal quotations omitted). The conduct of the respective parties in these cases was

irrelevant to this factor, as it is here.

        In addition to misstating the relevant inquiry, the government has also

mischaracterized the parties’ respective conduct. The government’s attempt to portray

itself as a victim of the Bank’s alleged delay tactics is belied by the fact that the

government repeatedly and unilaterally extended the Subpoena’s return date in all

instances starting on October 23, 2009. (Bank Opp. at 11-13.) The extensions were

granted even though the Bank specifically stated that it was not seeking them. (Id.)

        The government cites to its “diligent and reasonable efforts to get the records

through voluntary production.” (Gov. Opp. at 9.) However, the government inexplicably

refused to provide the Bank with information that could help the Bank assist the

Response to Government Opposition                                        Clients/Al Rajhi Banking & Investment
to Motion to Stay– Page 9                                                Corp/ Motion (08 FEB 10)
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government by making inquiries with the government of Saudi Arabia. (Bank Opp. at

11-12.) The government was also aware that the very regulator whose approval is

required had specified that a letter rogatory was the proper method of requesting the

documents. (Id. at 10-11.) Nonetheless, the government has not used the letter rogatory

process, even though such a method was suggested by the Saudi authorities themselves

and could have been used without first withdrawing the Subpoena. Therefore, this factor

favors the Bank even under the government’s mistaken formulation.

IV.     A Stay Serves the Public Interest

        The government argues that the public interest lies enforcing this provision of the

USA PATRIOT Act, and depicts the competing interests as between enforcement of that

law on the one hand, and Saudi Arabian bank secrecy law or the interests of “a subset of

offshore banks” on the other.4 (Gov. Opp. at 10.) However, the public interest also lies

in    properly    addressing       important         questions         of     statutory    interpretation    and

constitutionality and thereby ensuring that enforcement of the USA PATRIOT Act, a

controversial statute passed under extraordinary circumstances, does not result in

constitutional violations. See In re Sealed Case No. 02-001, 310 F.3d 717, 719 (FISA Ct.

Rev. 2002) (describing a challenge to the USA PATRIOT Act’s amendments of the

Foreign Intelligence Surveillance Act as raising “important questions of statutory

4
  The use of the term “offshore banks” is inaccurate and misleading. The Bank is a foreign bank and is by
no means an “offshore bank” as defined in 31 U.S.C. § 5318(i)(2). Similarly, the government’s citation to
Section 302(b)(4) of the USA PATRIOT Act, discussing “foreign jurisdictions that pose particular,
identifiable opportunities for criminal abuse” (Gov. Opp. at 9) unfairly implies that Saudi Arabia and its
banking confidentiality laws have been designated as being of concern. In fact, the government has never
made a finding that Saudi Arabia is of primary money laundering concern under 31 U.S.C. § 5318A. See
FinCen, Section 311 – Special Measures, http://www.fincen.gov/statutes_regs/patriot/section311.html (last
visited Mar. 18, 2010).

Response to Government Opposition                                           Clients/Al Rajhi Banking & Investment
to Motion to Stay– Page 10                                                           Corp/ Motion (08 FEB 10)
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interpretation, and constitutionality.”); Mayfield v. United States, 504 F. Supp. 2d 1023,

1036 (D. Or. 2007) (describing constitutional challenges to the USA PATRIOT Act as

requiring a balancing of the fundamental concerns of preserving “the peace and security

of our nation while at the same time preserving the constitutional rights and civil liberties

of all Americans.”);5 Doe v. Ashcroft, 334 F. Supp. 2d 471, 478 (S.D.N.Y. 2004) (“cases

engendering intense passions and urgencies to unencumber the Government, enabling it

to move in secrecy to a given end with the most expedient dispatch and versatile means,

often pose the gravest perils to personal liberties. . . . [i]t is precisely times like these that

demand heightened vigilance, especially by the judiciary, to ensure that, as a people and

as a nation, we steer a principled course faithful and true to our still-honored founding

values.”).

        The government’s argument that “no constitutional questions identified by the

Bank actually relate to this case” has no basis. (Gov. Opp. at 10.) As noted above, the

self-enforcing subpoena power granted under Section 5318(k) caused this Court some

concern. In order to decide whether this extraordinary grant of power was constitutional,

this Court evidently had to answer the constitutional question of whether a foreign bank

has constitutionally protected interests in the correspondent accounts it holds at U.S.

banks. As discussed in part II.a. infra, the Bank respectfully submits that not only is

there an important constitutional issue at stake here, but that there is a substantial

likelihood that the Ninth Circuit may agree with the First Circuit’s analysis in Union
5
 Any argument that the interests of American citizens are not implicated here would be unavailing. The
government has admitted that it is seeking the subpoenaed documents for use in the criminal trial of
Sedaghaty, a naturalized American citizen. Additionally, all American citizens have an interest in
observing the proper constitutional limits on executive power.

Response to Government Opposition                                         Clients/Al Rajhi Banking & Investment
to Motion to Stay– Page 11                                                         Corp/ Motion (08 FEB 10)
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Bank, and conclude that the Bank does have constitutional standing to challenge the

provisions of the USA PATRIOT Act.

        Finally, the government argues that if the court of appeals agrees with the Bank

“it might well decline to hold that the question has been mooted by developments during

the pendency of the appeal on the theory that the question can be expected to arise

again.” (Gov. Opp. at 10.) However, the government completely ignores the Bank’s

arguments, on pages 23-24 of its Motion to Stay, that absent a stay the Bank will have no

incentive to press the appeal.

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Response to Government Opposition                                       Clients/Al Rajhi Banking & Investment
to Motion to Stay– Page 12                                                       Corp/ Motion (08 FEB 10)
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V.        Conclusion

          For the foregoing reasons, this Court should stay enforcement of its order pending

appeal.

Dated: March 18, 2010                                         Respectfully submitted,




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Response to Government Opposition                                       Clients/Al Rajhi Banking & Investment
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